                                   IN THE
                           TENTH COURT OF APPEALS

                                 No. 10-23-00371-CR

JEREMY WAYNE STRICKLAND,
                                                           Appellant
v.

THE STATE OF TEXAS,
                                                           Appellee




                            From the 19th District Court
                             McLennan County, Texas
                            Trial Court No. 2022-820-C1


                           MEMORANDUM OPINION


         Jeremy Wayne Strickland appeals his conviction for continuous sexual abuse of a

child.    After finding him guilty, the jury assessed punishment at sixty years of

confinement in the Texas Department of Criminal Justice—Institutional Division. In his

sole issue, Strickland contends the trial court erred in allowing admission of extraneous

offense evidence. We affirm.
                               Extraneous Offense Evidence

        In his sole issue on appeal, Strickland asserts the trial court abused its discretion

by permitting the State to elicit testimony from him about his extraneous drug usage.

Specifically, on cross-examination, Strickland testified that he tested positive for

methamphetamines in 2013, 2018, and in 2023. He argues that he did not open the door

for this evidence, and it was not admissible under any legally correct theory.

STANDARD OF REVIEW AND APPLICABLE LAW

        We review the trial court's decision to admit contested testimony under an abuse

of discretion standard. Walters v. State, 247 S.W.3d 204, 217 (Tex. Crim. App. 2007). We

will uphold the trial court's decision if it is within the zone of reasonable disagreement.

Id. The trial court's evidentiary ruling must be upheld if it is reasonably supported by

the record and is correct under any applicable theory of law. Johnson v. State, 490 S.W.3d

895, 908 (Tex. Crim. App. 2016).

        Because an accused must be tried only for the offense for which he is charged and

may not be tried for a collateral crime or for being a criminal generally, extraneous offense

evidence is usually not admissible "to prove a person's character in order to show that on

a particular occasion the person acted in accordance with the character." TEX. R. EVID.

404(b)(1); Stafford v. State, 813 S.W.2d 503, 506 (Tex. Crim. App. 1991).

        When a defendant offers evidence of his good character, the prosecutor can admit

evidence of the defendant’s character to rebut the implication left by defendant’s


Strickland v. State                                                                    Page 2
character evidence. TEX. R. EVID. 404(a)(2)(A); Harrison v. State, 241 S.W.3d 23, 27 (Tex.

Crim. App. 2007). Once a defendant opens the door to evidence pertinent to a character

trait, trial courts may permit the State to introduce evidence to impeach the defendant’s

evidence concerning the trait at issue. Wheeler v. State, 67 S.W.3d 879, 886 n.16 (Tex. Crim.

App. 2002).

Discussion

        K.S.’s older brother, Jeremy, testified on behalf of Strickland. He testified that he

does not believe his father sexually assaulted K.S. The prosecutor asked him: “So that’s

why you don’t believe her, because she’s lied to you?”              Jeremy responded by

volunteering: “My father is not a bad person. I don’t believe it.” Evidence to show

Strickland’s character became relevant to impeach the impression left by Jeremy that

Strickland was not a “bad person.” See Harrison, 241 S.W.3d at 27. Therefore, the trial

court did not abuse its discretion when it permitted the State to cross-examine Strickland

about his past drug use. Id. We overrule Strickland’s sole issue.

                                        Conclusion

        We affirm the trial court’s judgment.




                                                         STEVE SMITH
                                                         Justice




Strickland v. State                                                                    Page 3
Before Chief Justice Gray,
       Justice Johnson, and
       Justice Smith
Affirmed
Opinion delivered and filed August 22, 2024
Do not publish
[CRPM]




Strickland v. State                           Page 4
